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    9                         UNITED STATES DISTRICT COURT
  10            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12    YOUNG HOLLYWOOD LLC, a                    Case No. 2:20-cv-3334 PA (RAOx)
        California limited liability company,
  13
                           Plaintiff,             OPPOSITION TO MOTION TO
  14                                              DISMISS CERTAIN CLAIMS IN
                    v.                            FIRST AMENDED COMPLAINT
  15
        WHITE OPS, INC., a Delaware
  16    corporation,
  17                       Defendant.
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    1   I.     INTRODUCTION
    2          Since late June 2019, White Ops, a cybersecurity company that claims to
    3   provide fraud detection services, has been falsely classifying Young Hollywood’s
    4   entire advertising space inventory as invalid traffic (“IVT”), preventing Young
    5   Hollywood from selling advertisements, and thereby cutting off its ability to
    6   generate revenue. As a result of White Ops’ false statements and Young
    7   Hollywood’s decision not to become a paying White Ops client, Young Hollywood
    8   has been unable to sell video advertisement space to its clients of many years, the
    9   company’s reputation as a digital media provider has been ruined, and the business
   10   is on the brink of collapse. Young Hollywood asserts claims for (1) defamation, (2)
   11   trade libel, (3) product disparagement in violation of the Lanham Act, (4) unfair
   12   competition, (5) intentional interference with prospective economic advantage, (6)
   13   negligent interference with prospective economic advantage, and (7) negligence.
   14          Tellingly, though White Ops’ complains of Young Hollywood’s “kitchen
   15   sink” approach to pleading, it moved to dismiss only Young Hollywood’s claims for
   16   defamation (Count 1), product disparagement (Count 3), and a portion of the
   17   intentional and negligent interference claims (Counts 5 and 6). Because these
   18   claims, like the others in the First Amended Complaint (“FAC”), are adequately
   19   pleaded, White Ops’ motion should be denied.
   20          First, Young Hollywood has stated a claim for defamation. The FAC
   21   sufficiently alleges the substance of dozens of defamatory statements made by
   22   White Ops, including the false statement that traffic to Young Hollywood’s websites
   23   is IVT. These allegations have since been corroborated by documents produced in
   24   discovery by White Ops. White Ops’ false statements suggest that Young
   25   Hollywood is selling fraudulent traffic to advertisers and is otherwise associated
   26   with fraud, calling into question the integrity of Young Hollywood as a business.
   27   The statements are therefore actionable as defamation.
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    1         Second, the FAC states a claim for product disparagement in violation of the
    2   Lanham Act. White Ops’ false representations qualify as “commercial advertising or
    3   promotion” under the Act. The statements are commercial speech because White
    4   Ops had a commercial motive for making the statements and the statements
    5   concerned Young Hollywood and its goods and services. Young Hollywood also
    6   adequately pleaded that the misrepresentations were disseminated to the relevant
    7   purchasing public, which here is comprised of SSPs, technology platforms that
    8   facilitate sales of online advertising, and other clients of White Ops.
    9         Third, the FAC adequately states a claim for intentional and negligent
  10    interference with prospective business advantage. Young Hollywood identified the
  11    specific relationships with which White Ops interfered, including Telaria, Prodege,
  12    Beachfront, Xandr, Index Exchange, Verizon SSP, and Rubicon. Further, Young
  13    Hollywood pleaded sufficient facts to show White Ops’ knowledge of these
  14    relationships and the specific actions it took to interfere with them.
  15    II.   STATEMENT OF FACTS
  16          A.     Young Hollywood and the YH Websites
  17          Young Hollywood is a publisher and distributer of original premium celebrity
  18    and lifestyle content. FAC ¶ 13. The company operates several platforms, including
  19    www.younghollywood.com and www.younghollywoodtv.com (the “YH Websites”).
  20    Id. at ¶ 14. Young Hollywood has invested tens of millions in developing its brand,
  21    cultivating at its peak an audience of over 10 million followers on social media and
  22    over 300 million monthly user interactions. Id. at ¶ 17.
  23          Young Hollywood’s revenue is derived exclusively from advertising and
  24    licensing. FAC ¶ 18. Hundreds of high-profile advertisers buy Young Hollywood’s
  25    inventory, including Coca-Cola, Subway, and Unilever. Id. Young Hollywood has
  26    grown its revenue exponentially since inception until June 2019, when, as described
  27    below, White Ops falsely classified its inventory as IVT. Id at ¶ 19.
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    1         Young Hollywood has worked with Telaria, Inc., a supply-side platform that
    2   monetizes premium video advertising inventory, since 2008. FAC ¶ 20. Telaria’s
    3   SSP utilizes programmatic advertising—the automated buying and selling of online
    4   advertising. Id. at ¶ 22. This means that the advertising space available before a
    5   video is played on YH Websites (pre-roll) is sold through an automated bidding
    6   process on Telaria’s online marketplace. Id.
    7         Beginning in March 2015, Young Hollywood began to work with Prodege, a
    8   consumer engagement and online marketing company, to market Young Hollywood
    9   content and drive traffic to the YH Websites. FAC ¶ 23.
  10          B.     White Ops
  11          White Ops is a cybersecurity company that claims to provide fraud detection
  12    services through the use of proprietary software and algorithms. FAC ¶ 29. The
  13    company’s over 200 customers pay a monthly subscription fee in exchange for
  14    White Ops’ services. Id. at ¶ 30. One service White Ops offers is “MediaGuard pre-
  15    bid prevention API,” a “pre-bid filter” intended to prevent fraud before a publisher’s
  16    advertising inventory is offered to advertisers for bidding on the SSP’s platform. Id.
  17    at ¶ 32. As a sophisticated party in the digital advertising landscape, White Ops
  18    understands how SSP platforms work and is familiar with the relationship between
  19    publishers, advertisers, and SSPs in these marketplaces. Id. at ¶ 43.
  20          White Ops customers have access to a customer dashboard where they are
  21    able to view the results of White Ops’ filtering. FAC ¶¶ 36, 139. White Ops also
  22    maintains a “blacklist/blocklist” of domains associated with fraud. Id. at ¶ 35. White
  23    Ops distributes information regarding these blacklisted domains to its clients. Id.
  24    The reports and dashboards demonstrate the utility of White Ops’ fraud detection
  25    capabilities and encourage clients to continue subscribing to its services. Id.
  26          One way White Ops generates business is by using its IVT findings to induce
  27    companies to subscribe to its services. FAC ¶ 88. When a flagged company becomes
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    1   a White Ops client, it is “able to resolve [its] flagged-traffic issues[.]” Id. Companies
    2   “who refuse to ‘pay up,’. . . stay on the White Ops blacklist.” Id.
    3         C.     White Ops Illegally Classifies Young Hollywood as IVT
    4         Beginning in late June 2019, White Ops began classifying a significant
    5   portion of Young Hollywood’s traffic as IVT and blocking its inventory from
    6   Telaria’s exchange. FAC ¶ 44. By June 28, 2019, Telaria was rejecting 65 to 70
    7   percent of Young Hollywood’s advertising space offerings due to the White Ops
    8   pre-bid filter. Id. at ¶¶ 39, 45. In other words, 65 to 70 percent of the offerings
    9   Young Hollywood sought to sell were suddenly not being shown to
   10   advertisers. Id. at ¶ 45. Telaria sent Young Hollywood an email explaining: “White
   11   Ops just upgraded their algorithms to account for behavior they have been tracking
   12   that most closely aligns with high instances of Automated Browsing and
   13   Manipulated Behavior within the IVT (Invalid Traffic) Taxonomy. Since we use
   14   White Ops for pre-bid IVT filtering, you may see instances of increased request
   15   filtering on your supply[.]” Id. at ¶ 46. In addition to this increased filtering, the YH
   16   Websites were placed on White Ops’ blacklist/blocklist. Id. at ¶ 47. White Ops
   17   circulated the blacklist/blocklist containing the YH Websites to Verizon, Xandr,
   18   Beachfront, and Telaria. Id. at ¶ 48. By July 2, 2019, White Ops was blocking “99%
   19   of traffic across all [Young Hollywood] sites” as IVT. Id. at ¶ 49.
   20         Young Hollywood’s revenue from the Telaria platform fell by over 99% from
   21   June to July 2019. Id. By September, this revenue stream totaled $12. Id. at ¶ 50.
   22         D.     Young Hollywood, Prodege, and Telaria Try to Get Answers
   23         As soon as Young Hollywood became aware that White Ops was blocking its
   24   inventory, it did everything possible to resolve the problem. FAC ¶ 53. For months,
   25   White Ops repeatedly led Young Hollywood to believe it was working diligently
   26   toward a solution when, in fact, it was not. Id. at 54-63. Prodege and Telaria also
   27   asked White Ops to investigate Young Hollywood’s blocked traffic. Id. at ¶ 64. In
   28   response to one of these inquiries, White Ops informed Prodege on July 3, 2019 that
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    1   its “team confirmed the traffic [on the YH Websites] for having high instances of
    2   Automated Browsing and Manipulated Behavior.” Id. at ¶ 65. Prodege noted the
    3   White Ops algorithm change had “negatively impacted several clients[,]” but “only
    4   YoungHollywood was put on a . . . ‘death penalty’ list where the site cannot
    5   monetize at all.” Id. Prodege followed-up with White Ops multiple times, but White
    6   Ops did not provide further explanation and continued to blacklist Young
    7   Hollywood. Id. at ¶¶ 67-68.
    8         E.     White Ops’ Defamatory Statements
    9         Beginning in approximately July 2019, White Ops falsely labeled Young
   10   Hollywood’s advertising space inventory as IVT within reports disseminated to all
   11   of its clients. FAC ¶¶ 89, 126, 139. At least some of those clients, including
   12   advertisers, placed the YH Websites on their own internal blacklists because of the
   13   White Ops reports. Id. In addition, White Ops intentionally and explicitly informed
   14   Telaria, Prodege, Beachfront, Xandr, Index Exchange, Verizon SSP, and Rubicon,
   15   that Young Hollywood’s inventory is IVT. Id at ¶¶ 84-86, 126, 139. White Ops’
   16   false statements suggest that the YH Websites do not have real human traffic and
   17   that the company is trying to sell fraudulent traffic to advertisers. Id. at ¶ 125. Such
   18   allegations disparage the integrity of the Young Hollywood brand and the goods it
   19   offers for sale (advertising space for human viewers). Id. White Ops’ false and
   20   disparaging statements about Young Hollywood are further described below.
   21         Beachfront. In an effort to sell advertising space while its traffic was being
   22   blocked on Telaria’s platform, Young Hollywood engaged other SSPs. FAC ¶ 90.
   23   One of these providers was Beachfront, a video ad management platform for media
   24   and advertisers. Id. In September 2019, Young Hollywood tried to launch with
   25   Beachfront, but because of White Ops’ unlawful actions, it was not able to
   26   do so. Id. at ¶ 91-95. Beachfront, a White Ops client, informed Young Hollywood
   27   that “100% of [its] requests [were] currently being blocked by White Ops prebid”
   28   due to undeclared incentivized traffic. Id. at ¶ 92. Beachfront confirmed it was “not
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    1   currently seeing the same issue with any of [its] other publishers.” Id. Beachfront
    2   noted that companies like Beachfront “are beholden to these third-party verification
    3   companies that are relied upon for metrics across our industry.” Id. at ¶ 93.
    4         Index Exchange. Young Hollywood also tried to sell its video advertisements
    5   through the global advertising marketplace, Index Exchange, but was unable to do
    6   so. FAC ¶ 96. Index Exchange became a client of White Ops in 2017. Id. ¶ 97. After
    7   White Ops placed the YH Websites on its blacklist in late June 2019, Index
    8   Exchange, in turn, placed the YH Websites on “the company’s ‘global blacklist’”
    9   which can occur when websites are on an “external blacklist[.]” Id. at ¶¶ 48, 96-97.
   10         White Ops had knowledge of Young Hollywood’s relationship with Index
   11   Exchange as a result of the inquiries Index Exchange made regarding the YH
   12   Websites through MediaGuard. FAC at ¶ 98.
   13         AT&T Xandr. In October 2019, Young Hollywood entered into an
   14   agreement to sell advertising on the Xandr platform. FAC at ¶ 99. Young
   15   Hollywood, however, has been unable to sell pre-roll advertisements through
   16   Xandr. Id. at ¶ 100. Xandr’s subsidiary, AppNexus, is a client of
   17   White Ops. Id. at ¶ 99.
   18         In October 2019, White Ops informed Xandr that “[a] heavy portion of the
   19   traffic [on younghollywood.com] is associated with Incentivized Traffic[.]” FAC ¶
   20   101. In March 2020, Xandr reported to Young Hollywood that White Ops had
   21   “detected Automated Browsing, Misleading User Interface, and False
   22   Representation” on the YH Websites. Id. at ¶ 102. In May 2020, Xandr informed
   23   Young Hollywood that the bulk of the advertising inventory on the YH Websites
   24   was being filtered by White Ops. Id. at ¶ 104. As late as June 2020, 90% of pre-roll
   25   advertising inventory, i.e. the advertising space available before a video is played on
   26   YH Websites, was being blocked by White Ops on the Xandr platform. Id.
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    1         An employee of Xandr informed Young Hollywood that he believed the
    2   problem was White Ops blacklisting the YH Websites even though they were not
    3   blocked by Xandr’s own anti-malvertising tool. FAC ¶ 100.
    4         Verizon SSP. In October 2019, Young Hollywood attempted to partner with
    5   Verizon SSP in order to sell its advertising inventory from the YH Websites on the
    6   Verizon SSP platform. FAC ¶ 106. Verizon SSP is a client of White Ops. Id. at
    7   ¶ 105. In July 2019, White Ops informed Verizon SSP that the traffic on the YH
    8   Websites was IVT. Id. Before Young Hollywood could begin selling its inventory,
    9   Verizon SSP informed Young Hollywood that they were hesitant to spend more
   10   time working with Young Hollywood because of the White Ops flag and the
   11   relationship collapsed. Id. at ¶ 106-07.
   12         Rubicon Project. Young Hollywood also entered into talks with Rubicon
   13   Project, a digital advertising infrastructure company, to sell the YH Websites’
   14   inventory on the Rubicon exchange. FAC ¶ 109. In late January 2020, Rubicon
   15   expressed to Young Hollywood that White Ops was reporting “that vast amounts of
   16   the traffic you’re getting on the site is bot-generated.” Id. at ¶ 110. Rubicon further
   17   explained that “Michael Tiffany [White Ops’ President] seems pretty confident that
   18   their filtering is accurately classifying [Young Hollywood’s] inventory.” Id.
   19         Playbuzz. Playbuzz (now EX.CO) is a content syndication network. FAC ¶
   20   112. Playbuzz reached out to Young Hollywood about working together in October
   21   2019. Id. However, once the content was implemented on the YH Websites,
   22   Playbuzz’s SSP partners would not approve Young Hollywood due to its status on
   23   White Ops’ blacklist. Id. According to Playbuzz, SSPs Rubicon and Telaria both
   24   “said that YoungHollywood.com has been blacklisted due to IVT[.]” Id. at ¶ 113.
   25         Freestar. In March 2020, Young Hollywood engaged Freestar, a tech
   26   company that helps publishers increase revenue by optimizing their advertising
   27   operations. FAC ¶ 114. Half a dozen partners informed Freestar that they would not
   28   run ads on Younghollywood.com. Id. Freestar assumed it was “the whole IVT list
                                              7
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    1   from White Ops.” Id. Freestar ended its relationship with Young Hollywood after
    2   having “exhausted all [their] efforts in trying to help resolve these [White Ops] tech
    3   issues[,]” noting that “a few of us think” it may be a “a pay-to-play situation with
    4   them [White Ops.]” Id. at ¶¶ 115-116.
    5         F.     The Consequences of White Ops’ Unlawful Conduct
    6         By falsely accusing Young Hollywood of high instances of automated
    7   browsing and manipulated behavior, classifying the YH Websites as IVT, and
    8   blacklisting Young Hollywood, White Ops directly impacted Young Hollywood’s
    9   ability to sell to advertisers and caused Young Hollywood to lose millions of dollars
   10   in advertising revenue that would have been earned between June 2019 and June
   11   2020. FAC ¶¶ 51, 122, 143. Young Hollywood has been forced to shut down its
   12   production studio, cease creating video content, and lay off all employees involved
   13   in content production. Id. at ¶ 122.
   14         White Ops’ actions have also caused harm to Young Hollywood’s reputation
   15   as a digital media provider. FAC ¶¶ 52, 118. By branding traffic to the YH Websites
   16   as IVT, White Ops made false, negative statements about the character and nature of
   17   Young Hollywood’s goods and brand and its integrity as a business. Id.
   18         Because of the false information White Ops disseminated, Young Hollywood
   19   had to end its four-year relationship with Prodege. FAC ¶ 69. On May 19, 2020,
   20   Telaria also ended its more than decade-long relationship with Young Hollywood
   21   after it was unsuccessful in “help[ing] remove [the White Ops]
   22   blocks[.]” Id. at ¶ 119. Young Hollywood has been forced to search for other
   23   providers, and White Ops’ conduct has prevented Young Hollywood from realizing
   24   many of these relationships as well. Id. at ¶¶ 90-117.
   25         White Ops’ unlawful conduct has also caused massive diminution in value of
   26   a company that investment bankers valued between 100 and 400 million dollars in
   27   2015 and 2016, before a period of exponential growth for the company. FAC ¶ 19.
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    1   III.   LEGAL STANDARD
    2          In addressing White Ops’ Motion to Dismiss, the Court must determine
    3   whether the factual allegations in the FAC, taken as true and together with all
    4   reasonable inferences, state a “plausible” claim for relief. Ashcroft v. Iqbal, 556 U.S.
    5   662, 678 (2009). Young Hollywood’s FAC need only contain enough factual
    6   content “to raise a reasonable expectation that discovery will reveal evidence” of the
    7   claim. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007). Should the Court
    8   conclude that any claims need correction, “[l]eave to amend . . . should be granted
    9   unless the pleading ‘could not possibly be cured’ by the allegation of other facts.”
   10   United States v. United Healthcare Ins. Co., 848 F.3d 1161, 1182 (9th Cir. 2016)
   11   (internal citation omitted); see Fed. R. Civ. P. 15.
   12   IV.    ARGUMENT
   13          A.    The FAC States a Claim for Defamation (Count I)
   14                1.     The FAC adequately alleges the substance of White Ops’
   15                       defamatory statements
   16          White Ops’ arguments to dismiss Young Hollywood’s claim for defamation
   17   fail. First, White Ops maintains that Young Hollywood “failed to identify the
   18   substance of the specific statements it contends are defamatory.” Motion at 6. This
   19   is demonstrably false. The FAC recounts dozens of specific defamatory statements
   20   made by White Ops:
   21       White Ops “maintains a ‘blacklist’ of domains associated with fraud.” FAC ¶
   22          35. White Ops placed “the YH Websites” on this “blacklist/blocklist” and
   23          circulated the list to “Verizon, Xandr, Beachront, and Telaria.” Id. at ¶ 47-48.
   24       “White Ops informed Prodege on July 3, 2019 that its ‘team confirmed the
   25          traffic [on the YH Websites] for having high instances of Automated
   26          Browsing and Manipulated Behavior.’” FAC ¶ 65.
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    1       “White Ops, in late January 2020, was still flagging Young Hollywood’s
    2         inventory on the Telaria platform ‘for automated browsing/bots and other
    3         mechanisms[.]’” FAC ¶ 80.
    4       “In mid-October, White Ops informed three SSPs (AT&T Xandr, Beachfront,
    5         and Verizon) that it was blocking Young Hollywood’s inventory for use of
    6         undeclared incentivized traffic.” FAC ¶ 84.
    7       “. . .White Ops informed its clients that the YH Websites contain ‘automated
    8         browsing, misleading user interface, and false representation.’” FAC ¶ 86.
    9       “Beachfront informed Young Hollywood that ‘100% of [Young
   10         Hollywood’s] requests [were] currently being blocked by White Ops prebid.’”
   11         Beachfront explained that Young Hollywood’s inventory was being flagged
   12         for use of undeclared incentivized traffic.” FAC ¶ 92. “Indeed, in October
   13         2019, in response to an inquiry from Beachfront, White Ops confirmed that it
   14         was flagging the YH Websites for the use of undeclared incentivized
   15         traffic.” Id. at ¶ 94 (emphasis added).
   16       “In October 2019, White Ops informed AT&T Xandr that ‘[a] heavy portion
   17         of [its] traffic is associated with Incentivized Traffic, which is one of the
   18         categories noted in our IVT Taxonomy.’” FAC ¶ 101.
   19       “In March 2020, AT&T Xandr reported to Young Hollywood that White Ops
   20         had ‘detected Automated Browsing, Misleading User Interface, and False
   21         Representation’ on younghollywood.com.’” FAC ¶ 102.
   22       “In July 2019, White Ops informed Verizon SSP that the traffic on the YH
   23         Websites was IVT.” FAC ¶ 105.
   24       “In late January 2020, Rubicon. . .expressed to Young Hollywood that White
   25         Ops was reporting ‘that vast amounts of the traffic you’re getting on the site is
   26         bot-generated.’ Rubicon further explained that ‘Michael Tiffany [White Ops
   27         Co-Founder and President] seems pretty confident that their filtering is
   28         accurately classifying [Young Hollywood’s] inventory.’” FAC ¶ 110.
                                               10
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    1       White Ops “display[ed]” its “false detection of IVT from the YH Websites”
    2         on a customer “dashboard[.]” FAC ¶ 139.
    3   In short, the FAC more than “adequately alleges the substance of the allegedly
    4   defamatory statement[s],” Norsat Int’l, Inc. v. B.I.P. Corp., 2013 WL 5530771, at *5
    5   (S.D. Cal. Oct. 3, 2013), i.e. that “Young Hollywood’s advertising space inventory
    6   constitutes IVT.” FAC ¶ 125.
    7         White Ops cannot escape this conclusion by claiming that Young Hollywood
    8   did not “identify a single report,” “any language within one,” or “what information
    9   was actually included in th[e] . . . ‘blacklist[.]’” Motion at 6. First, as outlined
   10   above, Young Hollywood identified multiple specific reports and communications
   11   made by White Ops. See FAC ¶¶ 65, 84, 86, 94, 101-102, 105, 110. More
   12   importantly, White Ops’ argument ignores the entire thrust of Young Hollywood’s
   13   defamation claim; namely, that White Ops included the YH Websites on its
   14   blacklist/blocklist of “domains associated with fraud” and made multiple
   15   communications to that effect to its clients, causing injury to Young
   16   Hollywood. FAC ¶ 35. Nothing more need be alleged to identify “the substance of
   17   the defamatory statement.” LuxPro Corp. v. Apple Inc., 2011 WL 1086027, at *13
   18   (N.D. Cal. Mar. 24, 2011) (allegation that plaintiff’s products were “cheap knock-
   19   offs,” “cheap copies,” and “illegal copies” of the defendant’s products sufficient for
   20   defamation claim). The same holds true for White Ops’ statements that Young
   21   Hollywood’s advertising space inventory constitutes IVT. Whatever else was in a
   22   report that communicated this false information to a White Ops client does not bear
   23   upon the sufficiency of Young Hollywood’s claim for defamation. See, e.g., Norsat
   24   Int’l,, 2013 WL 5530771, at *5 (allegation that defendant had “counterfeited
   25   [plaintiff’s] products” sufficient to state claim for defamation).
   26
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    1                2.     White Ops’ defamatory statements disparage Young
    2                       Hollywood
    3         Next, White Ops argues that its false statements about Young Hollywood’s
    4   IVT levels are not defamatory because they “did not cast aspersions on [Young
    5   Hollywood’s] business character[,]” but rather “concern[ed] only the nature of
    6   certain traffic to Plaintiff’s websites[.]” Motion at 8 (emphasis in original). This
    7   argument is also without merit, as White Ops’ defamatory statements brand Young
    8   Hollywood’s business as fraudulent.
    9         To be defamatory, a disparaging statement must “call into question the
   10   plaintiff’s honesty, integrity, or competence or reasonably imply a[] reprehensible
   11   personal characteristic.” Polygram Records, Inc. v. Superior Court, 170 Cal. App.
   12   3d 543, 550 (1985). It is, however, possible for statements to “effectuate” both
   13   “personal aspersion and commercial disparagement.” Id. That is the case here. See
   14   RingCentral, Inc. v. Nextiva, Inc., 2020 WL 2065701, at *3 (N.D. Cal. Apr. 29,
   15   2020) (denying motion to dismiss defamation and trade libel claims based on same
   16   underlying conduct).
   17         In the digital advertising world, the labels “IVT” and “bot-generated traffic”
   18   mean fraud. FAC ¶¶ 32, 52. When White Ops falsely stated that the YH Websites
   19   have high levels of IVT and “do not have real human traffic,” it suggested that
   20   Young Hollywood was “trying to sell fraudulent traffic to advertisers.” Id. at ¶ 125.
   21   Further, by placing the YH Websites on a blacklist/blocklist “of domains associated
   22   with fraud,” White Ops implies that Young Hollywood is itself fraudulent or
   23   associated with fraud. Id. at ¶¶ 35, 47-48. These false assertions of fact about Young
   24   Hollywood’s “business, practices and products” are sufficient to state a claim for
   25   defamation. Luxpro, 2011 WL 1086027, at *13; see also Maponics, LLC v. Wahl,
   26   2008 WL 2788282, at *4 (N.D. Cal. July 18, 2008) (statements that
   27
   28
                                                  12
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    1   “counterclaimants’ ‘stole data’ and that there are errors in [counterclaimant]’s
    2   products” actionable as defamation) (emphasis added).1
    3          The cases upon which White Ops relies do not suggest otherwise. The
    4   plaintiffs’ allegations in Polygram Records, Starbuzz Tobacco, and Isuzu were
    5   insufficient to state a claim for defamation because the purported false statements
    6   related only to the products sold by the plaintiffs (wine, cigarettes, and cars,
    7   respectively) and did not “accuse plaintiff of dishonesty, lack of integrity or
    8   incompetence” or “imply any reprehensible personal characteristic.” Polygram
    9   Records, 170 Cal. App. 3d at 546; Starbuzz Tobacco, Inc. v. Abdallah, 2011 WL
   10   13214313, at *3 (C.D. Cal. Nov. 2, 2011); Isuzu Motors Ltd. v. Consumers Union of
   11   U.S., Inc., 12 F. Supp. 2d 1035, 1045 (C.D. Cal. 1998). The defamatory statements
   12   in this case do more than disparage the quality of Young Hollywood’s goods and
   13   services. By suggesting that the YH Websites are associated with fraud and that
   14   Young Hollywood is trying to sell fraudulent traffic to advertisers, White Ops’
   15   statements “accuse plaintiff of dishonesty [and] lack of integrity[.]” Polygram
   16   Records, 170 Cal. App. 3d at 546.2
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        1
          White Ops implicitly acknowledges that Young Hollywood’s allegations in Paragraphs 52 and
   23   125 of the FAC are sufficient to state a claim for defamation, but asserts that the Court should
        overlook these allegations because they are “[w]ithout…factual basis[.]” Motion at 8-9 (citing
   24   FAC ¶¶ 52 and 125). This is wrong. The allegations in these Paragraphs are “reasonable
        inferences” based on the factual allegations in the FAC. See Ashcroft, 556 U.S. at 678.
   25   2
          Keene v. Lake Publ’g Co., 2010 WL 985849, at *2 (Cal. Ct. App. Mar. 18, 2010), an
        unpublished California Court decision, should not be treated as persuasive authority. Regardless,
   26   the decision is of no help to White Ops. In Keene, the determination that an article reporting that a
        patient was “misdiagnosed” with Lou Gehrig’s disease was not defamatory turned on the court’s
   27   finding that the plaintiff had not shown the challenged statement to be substantially false. Id. at
        **9-10. Here, White Ops does not (and, indeed, cannot) challenge the falsity of its statements
   28   regarding IVT on the YH Websites.
                                                        13
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    1          B.      The FAC States a Claim for Product Disparagement in Violation of
    2                  the Lanham Act (Count III)
    3                  1.     Young Hollywood sufficiently alleged White Ops’ misleading
    4                         representations
    5          White Ops made false statements: (1) within reports periodically disseminated
    6   to its clients, including a blacklist/ blocklist, (2) on dashboards available to its
    7   clients, and (3) within specific communications with its customers. FAC ¶ 139.
    8   Young Hollywood adequately pleaded the substance of and context surrounding
    9   these false statements.3
   10          The FAC alleges that White Ops disseminated reports to its clients, and in
   11   those reports, “White Ops falsely labeled Young Hollywood’s advertising space
   12   offerings as IVT.” FAC ¶ 89. One report disseminated by White Ops is a
   13   blacklist/blocklist “of domains associated with fraud.” Id. at ¶¶ 35, 47-48. The FAC
   14   states that, “in connection with a new algorithm update” implemented on June 28,
   15   2019, White Ops circulated a “blacklist/blocklist” containing the YH Websites “to
   16   Verizon, Xandr, Beachfront, and Telaria.” Id. at ¶¶ 45, 48. The FAC further alleges
   17   that White Ops circulated this blacklist/blocklist to “SSPs, advertising purchasers,
   18   and others who use White Ops’ fraud detection services.” Id. at ¶ 142. Contrary to
   19   White Ops’ assertion, these allegations provide the “what” (the blocklist/blacklist
   20   which included the YH Websites), the “who” (Verizon, Xandr, Beachfront, Telaria,
   21   SSPs, advertising purchasers, and other White Ops clients), and the “when” (in
   22   connection with an algorithm update implemented on June 28, 2019) of White Ops’
   23   disparagement. See, e.g., Kilopass Tech. Inc. 2010 WL 5141843, at *7 (plaintiff
   24
        3
         The Ninth Circuit has not held that Rule 9(b) applies to Lanham Act claims. See Kilopass Tech.
   25   Inc. v. Sidense Corp., 2010 WL 5141843, at *7 (N.D. Cal. Dec. 13, 2010). Because the Lanham
        Act does not contain an intent requirement, the reasoning of those district courts within the Ninth
   26   Circuit that have applied the heightened pleading standard of Rule 9(b) to Lanham Act false
        advertising cases is necessarily flawed. See Johnson & Johnson v. Carter-Wallace, Inc., 631 F.2d
   27   186, 189 (2d Cir. 1980) (Section 43(a) of the Lanham Act “does not require proof of intent to
        deceive”). Even if Rule 9(b) were to apply here (and it does not), Young Hollywood has met this
   28   heightened standard.
                                                        14
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    1   adequately pleaded Lanham Act product disparagement by alleging “who published
    2   the statements. . . , their general content, and why they are allegedly false”).
    3         The FAC also sufficiently alleges that White Ops displayed its “false
    4   detection of IVT from the YH Websites” on dashboards available to its “over 200
    5   clients.” FAC ¶ 139. The FAC explains that White Ops provides its customers with
    6   a dashboard which enables those clients to view the results of White Ops’ filtering.
    7   Id. Following its algorithm update on June 28, 2019, White Ops began to falsely
    8   identify traffic to the YH Websites as IVT. Id. at ¶ 44. These false detection results
    9   were displayed on client dashboards. Id. at ¶ 139. Here again, the allegations
   10   regarding the client dashboards identify the “what” (the dashboards displaying the
   11   false IVT information), the “who” (White Ops’ “over 200 clients”), and the “when”
   12   (after June 28, 2019) of White Ops’ false and misleading statements.
   13         The FAC is also replete with details regarding the substance of specific false
   14   statements made directly by White Ops to Prodege, Telaria, Beachfront, Xandr,
   15   Index Exchange, Verizon SSP, and Rubicon. See, e.g., FAC ¶¶ 65, 84, 86, 94, and
   16   101. White Ops cannot avoid these allegations by selectively citing to statements
   17   from third parties. Motion at 11.
   18         The allegations in this case are not comparable to those in Bragel Int’l, Inc. v.
   19   Kohl’s Dep’t Stores, Inc., 2018 WL 5858535 (C.D. Cal. June 5, 2018) or
   20   ProSolutions Software, Inc. v. DemandForce, Inc., 2013 WL 12139120 (C.D. Cal.
   21   Mar. 7, 2013). In Bragel, the counterclaimant pleaded “only that [plaintiff] . . . made
   22   false representations ‘in the marketplace’ to customers and potential customers of
   23   counterplaintiff” and did not “identify the communications” in which the plaintiff
   24   “made the false representations or explain the context of the false statements.” 2018
   25   WL 5858535, at *3. Similarly, in ProSolutions, the plaintiff alleged only “that
   26   [defendant] made certain misrepresentations regarding the parties’ relationship ‘in
   27   promotions, advertising, and marketing in commerce.’” 2013 WL 12139120, at *1.
   28   Here, as described in detail in the three preceding paragraphs, Young Hollywood
                                                   15
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    1   identifies the specific communications in which White Ops made false statements
    2   and the context surrounding those statements.
    3                2.     White Ops’ false statements constitute commercial
    4                       promotion under the Lanham Act
    5                       a.     White Ops’ false statements are commercial speech
    6         To determine whether expression is commercial speech satisfying the first
    7   requirement of “commercial promotion” under the Lanham Act, courts consider
    8   whether: the speech is in an advertising format, refers to a specific product at issue,
    9   and/or if the speaker has an economic or commercial motive for making the
   10   statements. Am. Acad. of Pain Mgmt. v. Joseph, 353 F.3d 1099, 1106 (9th Cir. 2004)
   11   (citing Bolger v. Youngs Drug Prod. Corp., 463 U.S. 60, 66-67 (1983)).
   12         First, White Ops has a commercial motive for making the statements. “White
   13   Ops sends reports to its clients to show the utility of its fraud detection capabilities
   14   so that its clients continue subscribing to its service.” FAC ¶¶ 35, 141.
   15   Contrary to White Ops’ assertion, the statements at issue do not relate solely “to
   16   commercial transactions that have already occurred[.]” Motion at 14 (citing
   17   Gonzalez v. Allstate Ins. Co., 2005 WL 5891935, at *8 (C.D. Cal. Aug. 2, 2005)).
   18   White Ops’ “customers pay a monthly subscription fee in exchange for White Ops’
   19   services.” FAC ¶ 30. This means that these clients need to actively decide, on at
   20   least a monthly basis, whether to continue subscribing to and paying for White Ops’
   21   services. See PAX Water Techs., Inc. v. Medora Corp., 2019 WL 4390567, at *7
   22   (C.D. Cal. Aug. 5, 2019) (statements “used to persuade actual or potential customers
   23   to purchase Defendant’s product” sufficient to constitute commercial speech). In
   24   this way, the reports, dashboards, and other statements made by White Ops are not
   25   like the “copies of [insurance] policies” found not to be commercial speech in
   26   Gonzalez, 2005 WL 5891935, at *8. Rather, they are more akin to the statements in
   27   Gonzalez that “were made for the purpose of influencing consumers to buy
   28   Allstate’s products, whether by renewing a policy already in place or by purchasing
                                                16
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    1   additional coverage[.]” Id. Moreover, White Ops’ business model involves flagging
    2   traffic as IVT, and then using that IVT finding—whether true or not—to induce the
    3   flagged publisher (or advertiser or SSP) to become a client. See FAC ¶¶ 55-59, 88,
    4   134. In this way, White Ops’ reports and dashboards influence new customers to
    5   subscribe to its services. The allegations that outline how White Ops uses its reports
    6   to attract new customers distinguish the facts presented in this case from those
    7   before the court in Vidillion, Inc. v. Pixalate, Inc., 2019 WL 3308768, at *1 (C.D.
    8   Cal. June 5, 2019).
    9          That White Ops intended to guide its clients’ purchasing decisions and those
   10   of advertisers does not change the fact that White Ops made false statements for the
   11   purpose of influencing new and existing customers to subscribe to White Ops’
   12   services. FAC ¶¶ 35, 141. The factual allegations in this case are therefore
   13   distinguishable from those in Alfasigma USA, Inc. v. First Databank, Inc., where the
   14   plaintiff alleged only “that defendant influenced decisions that consumers made to
   15   buy [plaintiff]’s goods—not [defendant]’s own goods or services[.]” 398 F. Supp.
   16   3d 578, 591 (N.D. Cal. 2019).4
   17          Second, as previously detailed (See Section IV.A.1), White Ops’ false
   18   statements “refer[] to a specific product at issue,” namely, the YH Websites, and
   19   therefore the statements satisfy the second Bolger factor. Am. Acad. of Pain Mgmt.,
   20   353 F.3d at 1106. White Ops acknowledges this, but claims that White Ops’
   21
   22   4
         Genus Lifesciences, Logisticare, and G.U.E. Technologies are distinguishable on this same basis.
        In each of these cases, the plaintiff failed to allege that the statements were made for the purpose
   23   of inducing customers to enter into a commercial transaction with the defendant. See Genus
        Lifesciences Inc. v. Lannett Co., Inc., 378 F. Supp. 3d 823, 845 (N.D. Cal. 2019), reconsideration
   24   denied, 2019 WL 4168958 (N.D. Cal. Sept. 3, 2019) (plaintiff did not allege that statements by a
        pricing list company were made “for the purpose of inducing . . . customers to enter into a
   25   commercial transaction with [the pricing list company].”); Logisticare Sols., LLC v. Cal. Med.
        Transp. Ass’n, Inc., 2018 WL 5099663, at *6 (C.D. Cal. May 21, 2018) (plaintiff “pled no facts
   26   supporting its contention that [defendant’s] communications were ‘for the purpose of influencing
        consumers to buy defendant’s goods or services.’”); G.U.E. Tech, LLC v. Panasonic Avionics
   27   Corp., 2016 WL 6138422, at *6 (C.D. Cal. Feb. 4, 2016) (statements not commercial because
        defendant “was not itself proposing a commercial transaction with th[e] airlines” to whom the
   28   statements were directed).
                                                        17
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    1   statements are simply a “neutral investigation of others’ products by non-
    2   competitors,” similar to a consumer report, and should not qualify as commercial
    3   speech. Motion at 16. But White Ops’ IVT findings are anything but “neutral.”
    4   Among other things, they are intended to convince the flagged entities that they
    5   should become White Ops customers. See FAC ¶¶ 138-142. White Ops may
    6   “position itself as an independent and unbiased reviewer,” but it is “actually
    7   engaged in some form of commercial product promotion.” Grasshopper House, LLC
    8   v. Clean & Sober Media LLC, 394 F. Supp. 3d 1073, 1096 (C.D. Cal. 2019). In
    9   short, White Ops is not neutral and cases like Ariix, LLC v. NutriSearch Corp., 2018
   10   WL 1456928 (S.D. Cal. Mar. 23, 2018) are therefore inapposite.
   11         Young Hollywood acknowledges that White Ops’ statements were not
   12   presented in an “advertising format.” Motion at 16. But false statements “need not
   13   be made in a ‘classic advertising campaign’” in order to be commercial speech.
   14   Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1054 (9th Cir. 2008) (internal
   15   citation omitted); see, e.g., Dynamic v. Blossom Footwear, Inc., 2009 WL
   16   10674326, at *4 (C.D. Cal. Apr. 28, 2009) (denying motion to dismiss Lanham Act
   17   product disparagement claim where statement to a trade magazine was “not in a
   18   traditional advertising format,” but could constitute commercial speech). Where, as
   19   here, the other Bolger factors are satisfied, speech can be commercial even when it
   20   is not presented as a traditional advertisement. Bolger, 463 U.S. at 67, n.14.
   21                       b.     Young Hollywood adequately alleged dissemination of
   22                              the false statements
   23         The relevant purchasing public in this case is comprised of SSPs, advertising
   24   purchasers, and other companies who use White Ops’ fraud detection
   25   services. FAC at ¶142. All of these White Ops clients received the reports
   26   containing false claims about Young Hollywood. Id. See also Section IV.A.1
   27   (detailing the false statements).
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    1         White Ops claims that the alleged dissemination is not enough, pointing to the
    2   court’s finding in Vidillion that “[d]isseminat[ion] to a number of [plaintiff’s]
    3   advertising demand partners” was not “wide dissemination within the relevant
    4   purchasing public.” Vidillion, Inc., 2019 WL 3308768, at *1. It is not clear how the
    5   court defined the “relevant purchasing public” for purposes of its decision in
    6   Vidillion and it is therefore hard to compare the allegations in that case to those
    7   made here. What is clear is that when it comes to determining what constitutes
    8   widespread dissemination, this Court is bound by the guidance set out by the Ninth
    9   Circuit in Coastal Abstract Serv. v. First American Title, 173 F.3d 725, 735 (9th Cir.
   10   1999). “The teaching of Coastal Abstract is that promotion, as it is to be understood
   11   in the Lanham Act, is different from the traditional understanding of advertising as
   12   ‘widespread promotional activities usually directed to the public at large.’”
   13   Gonzalez, 2005 WL 5891935, at *7 (emphasis in original) (internal citations
   14   omitted). The Lanham Act inquiry focuses exclusively on the “relevant industry.”
   15   Id. Where the purchasing public for the relevant industry is small, “even a single
   16   promotional representation to an individual purchaser may be enough to trigger the
   17   protections of the Act.” Coastal Abstract, 173 F. 3d at 735.
   18         In this case, the relevant industry, in its narrowest sense, consists of providers
   19   of supply side platforms—SSPs. FAC ¶142. This is a small group. Because the
   20   number of SSPs is so limited, Young Hollywood does not have the option to partner
   21   with an SSP who is not a White Ops client (and who has not received the false
   22   statements). Id. Given the size of the industry, dissemination of multiple false
   23   statements to at least five SSPs (and all of White Ops’ clients) should be “enough to
   24   trigger the protections of the [Lanham] Act.” Coastal Abstract, 173 F. 3d at 735.
   25   Young Hollywood’s allegation that the statements were “‘disseminated sufficiently
   26   to the relevant purchasing public’ may turn out to be true or false, but” it more than
   27   “suffices for purposes of stating a claim.” Newcal Indus., 513 F.3d at 1054.
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                                                  19
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    1   Accepting the allegations in the FAC as true, as this Court must, White Ops’ motion
    2   to dismiss Young Hollywood’s Lanham Act claim should fail.
    3         C.     The FAC States a Claim for Intentional and Negligent Interference
    4                with Prospective Business Advantage (Counts V and VI)
    5         White Ops does not dispute that Young Hollywood has stated claims for
    6   interference with respect to its relationships with Telaria and Prodege. See Motion at
    7   19. Young Hollywood’s claims for intentional and negligent interference therefore
    8   necessarily survive this motion. Nonetheless, White Ops seeks to dismiss Young
    9   Hollywood’s interference claims with respect to “its relationships with various
   10   third-party advertising platforms, apart from Telaria and Prodege[.]” Id. These
   11   claims are adequately pleaded and should not be dismissed.
   12                1.     The FAC sufficiently identifies the relationships with which
   13                       White Ops interfered
   14         White Ops first argues that the interference claims that do not involve Telaria
   15   and Prodege are deficient because Young Hollywood “does not sufficiently
   16   identify” the relationships with which White Ops interfered, Motion at 19, ignoring
   17   the many allegations in the FAC to the contrary. The FAC states that White Ops
   18   interfered with Young Hollywood’s relationships with “Beachfront, AT&T Xandr,
   19   Index Exchange, [and] Rubicon,” clearly identifying the relationships that are the
   20   subject of the interference claims. FAC ¶ 151; see also id. at ¶ 159. Moreover, the
   21   FAC includes allegations describing Young Hollywood’s relationships with each of
   22   these five SSPs. See id. at ¶¶ 90-95 (Beachfront); ¶¶ 96-98 (Index Exchange);
   23   ¶¶ 99-104, 120-121 (Xandr); ¶¶ 105-108 (Verizon SSP); ¶¶ 109-111 (Rubicon).
   24         White Ops’ reliance on Silicon Knights, Inc. v. Crystal Dynamics, Inc., 983 F.
   25   Supp. 1303, 1312 (N.D. Cal. 1997) in support of its argument that Young
   26   Hollywood did not adequately specify the relationships is misplaced. In Silicon
   27   Knights, the court determined that the plaintiff failed to state a claim for interference
   28   because the complaint did not include allegations “from which the court…could
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    1   infer the probable disruption of an actual economic relationship[.]” Id. The court
    2   specifically highlighted the plaintiff’s failure to “allege it was in the midst of
    3   negotiations” with a publisher who “pulled out.” Id.
    4         Here, Young Hollywood alleges the precise facts the court found to be
    5   lacking in Silicon Knights. For example, with respect to Xandr, the FAC alleges that
    6   Young Hollywood “entered into an agreement to sell advertising on the AT&T
    7   Xandr platform” but was unable to do so because White Ops “blacklist[ed] the YH
    8   Websites[.]” FAC ¶¶ 99-100. Similarly, the FAC states that “Young
    9   Hollywood…entered into talks with Rubicon Project, a digital advertising
   10   infrastructure company, to sell the YH Websites’ advertising inventory on the
   11   Rubicon exchange[,]” but those talks fell through as a result of reports from White
   12   Ops that “vast amounts” of traffic on the YH websites was
   13   “bot-generated[.]” Id. at ¶¶ 109-111. The FAC contains similar allegations regarding
   14   Young Hollywood’s relationships with Beachfront, Index Exchange, and Verizon
   15   SSP. See id. at ¶¶ 91-92 (Young Hollywood “attempted to launch with Beachfront”
   16   but was unable to do so because “100% of Young Hollywood’s requests
   17   were. . .blocked by White Ops prebid.”); Id. at ¶¶ 96-98 (Young Hollywood “tried to
   18   sell its video advertisements through the global advertising marketplace, Index
   19   Exchange, but was unable to do so” because its websites were on a blacklist); Id. at
   20   ¶ 106 (“Young Hollywood attempted to partner with Verizon SSP[,]” but before it
   21   “could begin selling its inventory,” Verizon SSP ended the relationship “because of
   22   the White Ops flag”). None of these relationships are speculative. Young
   23   Hollywood adequately alleges that it sought to work with all five of these SSPs, but
   24   that as a result of White Ops’ interference, it was unable to partner successfully with
   25   any of them. Id. at ¶¶ 90-111, 120-121.
   26
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    1                2.     The FAC sufficiently alleges White Ops’ knowledge of Young
    2                       Hollywood’s relationships
    3         White Ops next claims that the FAC “fails to plead that White Ops had
    4   knowledge of its business relationships.” Motion at 22. This argument is meritless.
    5         “[A]s a sophisticated party in the digital advertising landscape,” White Ops
    6   “generally knows the workings of an SSP platform” and “is familiar with the
    7   relationship between a publisher like Young Hollywood and advertisers on an SSP
    8   platform.” FAC ¶ 43. Given this familiarity, when White Ops receives an inquiry
    9   from an SSP regarding a publisher’s website through its MediaGuard pre-bid filter,
   10   it follows that the publisher is a client of the SSP, or is trying to be. The SSP would
   11   have no reason to query the MediaGuard pre-bid filter regarding a website that was
   12   not selling its advertising space inventory on the SSP’s platform (or trying to). Put
   13   differently, “[i]t strains the imagination to say that [White Ops] received a request
   14   from” an SSP regarding the YH Websites’ traffic, “but was not aware that [these
   15   SSPs] intended to imminently [offer for] purchase” advertising inventory on the YH
   16   Websites. G.U.E. Tech, 2015 WL 12696203, at *6 (software company adequately
   17   pleaded in-flight entertainment system provider’s knowledge of relationship
   18   between software company and an airline where the airline sent “requests for
   19   updates” to in-flight entertainment system provider in order to facilitate
   20   implementation of software company’s game into the in-flight entertainment
   21   system). Indeed, the entire purpose of White Ops’ MediaGuard product is to
   22   evaluate requests from SSPs “in near real-time,” Motion at 3, immediately “before
   23   publishers’ advertising inventory is offered to advertisers for bidding.” FAC ¶ 32.
   24         Young Hollywood does not simply rest on White Ops’ generalized
   25   knowledge of the way its industry and its product function to support its interference
   26   claims. To the contrary, the FAC contains specific allegations regarding White Ops’
   27   knowledge of Young Hollywood’s relationships with Beachfront, Xandr, Index
   28   Exchange, Verizon SSP, and Rubicon, as outlined below. See Korea Supply Co. v.
                                             22
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    1   Lockheed Martin Corp., 29 Cal. 4th 1134, 1153 (2003) (“to satisfy the intent
    2   requirement for this tort, it is sufficient to plead that the defendant knew that the
    3   interference was certain or substantially certain to occur as a result of its action.”).
    4         Beachfront. The FAC alleges that “in October 2019, in response to an
    5   inquiry from Beachfront, White Ops confirmed that it was flagging the YH
    6   Websites for the use of undeclared incentivized traffic.” FAC ¶ 94; see also id. at ¶
    7   84 (“White Ops informed three SSPs (AT&T Xandr, Beachfront, and Verizon) that
    8   it was blocking Young Hollywood’s inventory for use of undeclared incentivized
    9   traffic”). White Ops’ response to Beachfront’s inquiry demonstrates that it was
   10   aware of the relationship between its client, Beachfront, and the publisher about
   11   which Beachfront inquired, Young Hollywood. See id. at ¶ 94.
   12         AT&T Xandr. The FAC explains that “in October 2019, White Ops
   13   informed Xandr that ‘[a] heavy portion of the traffic” on the YH Websites was
   14   “associated with Incentivized Traffic[.]’” FAC ¶ 101; see also id. at ¶ 84. In March
   15   2020, White Ops reported similar findings, this time detecting “Automated
   16   Browsing, Misleading User Interface, and False Representation[.]” Id. at ¶ 102.
   17   White Ops’ responses show its knowledge of Young Hollywood’s relationship with
   18   Xandr. Id. at ¶ 103. Moreover, Young Hollywood made White Ops’ Co-Founder
   19   and President, Mr. Tiffany, aware of its partnership with Xandr. Id. at ¶¶ 77, 79.
   20         Rubicon. The FAC alleges that Rubicon discussed Young Hollywood with
   21   White Ops’ Co-Founder and President, who expressed to Rubicon his confidence
   22   “that [White Ops’] filtering [wa]s accurately classifying [Young Hollywood’s]
   23   inventory’ as “bot-generated.” FAC ¶ 110. Further, and as with Xandr, Young
   24   Hollywood made White Ops aware of its partnership with Rubicon. Id. at ¶ 79.
   25         Verizon SSP. Verizon SSP was a client of White Ops and in July 2019,
   26   “White Ops informed Verizon SSP that the traffic on the YH Websites was IVT.”
   27   FAC ¶ 105; see also FAC ¶ 84. As with the queries and responses described above,
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    1   this is enough to show that White Ops had knowledge of the relationship between
    2   Verizon SSP and Young Hollywood.
    3          Index Exchange. Index Exchange is also a client of White Ops and, in that
    4   capacity, Index Exchange made inquiries “regarding the YH Websites through
    5   MediaGuard[.]” FAC ¶¶ 97-98. In response, White Ops communicated to “Index
    6   Exchange [. . .] the false claim that Young Hollywood’s inventory is IVT.” Id. at ¶
    7   ¶153, 161. These allegations are sufficient to establish that White Ops had
    8   knowledge of Young Hollywood’s prospective relationship with Index Exchange.
    9                 3.     The FAC sufficiently alleges that White Ops took action to
   10                        disrupt Young Hollywood’s relationship with Index
   11                        Exchange5
   12          Finally, White Ops argues that Young Hollywood “fail[ed] to point to any
   13   action that White Ops took to disrupt Plaintiff’s relationship with Index
   14   Exchange[.]” Motion at 24. This is not true.
   15          Index Exchange became a client of White Ops in 2017. FAC ¶ 97. After
   16   White Ops placed the YH Websites on its blacklist in late June 2019, Index
   17   Exchange, in turn, placed the YH Websites on “the company’s ‘global blacklist’”
   18   which can occur when websites are on an “external blacklist[.]” Id. at ¶¶ 48, 96-97.
   19   Given these allegations, it is plausible to infer that Index Exchange placed the YH
   20   Websites on its own blacklist because it received the White Ops blacklist, which
   21   included the YH Websites. See Parravano v. Babbitt, 861 F. Supp. 914, 918 (N.D.
   22   Cal. 1994) (“The Court must . . . indulge all reasonable inferences to be drawn
   23   from” the factual allegations of the complaint). White Ops’ actions, in other words,
   24   prevented Young Hollywood from selling its pre-roll advertisements through Index
   25   Exchange’s marketplace.
   26
   27   5
         Young Hollywood is not asserting claims for intentional or negligent interference with
        prospective business advantage based on its relationships with Playbuzz and Freestar. See FAC
   28   Counts V and VI.
                                                      24
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    1         Unlike the plaintiffs in Celebrity Chefs Tour, LLC v. Macy’s, Inc., Young
    2   Hollywood has alleged that White Ops took specific actions that disrupted Young
    3   Hollywood’s relationship with Index Exchange. 16 F. Supp. 3d 1141, 1157 (S.D.
    4   Cal. 2014). These allegations are sufficient to state a claim for interference. See
    5   Code Rebel, LLC v. Aqua Connect, Inc., 2013 WL 5405706, at *7 (C.D. Cal. Sept.
    6   24, 2013) (denying motion to dismiss intentional and negligent interference claims
    7   where defendant embarked on a pattern of disparagement of plaintiff and
    8   its program).
    9   V.    CONCLUSION
   10         For the reasons set forth above, the Court should deny White Ops’ motion to
   11   dismiss certain claims in the FAC. In the event the Court grants, in whole or in part,
   12   the motion to dismiss the claims, Plaintiff requests leave to amend the dismissed
   13   claims.
   14
   15   DATED: July 20, 2020                      Brendan J. O’Rourke
                                                  Jonathan M. Weiss
   16                                             Lee Popkin
                                                  Simona Weil
   17                                             PROSKAUER ROSE LLP
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   19
                                                  /s/ Jonathan M. Weiss
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                                                  Attorneys for Plaintiff,
   21                                             Young Hollywood LLC
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